 Case 2:21-cv-11368-SFC-APP ECF No. 13, PageID.57 Filed 10/27/21 Page 1 of 1




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

Frazier Dancy, III,

       Plaintiff,
                                              Civil Case No. 21-11368
v.

DCN Holdings, Inc.,                           Sean F. Cox
                                              United States District Court Judge
      Defendant.
______________________________/

                   SECOND ORDER TO SHOW CAUSE
     WHY CASE SHOULD NOT BE DISMISSED FOR FAILURE TO PROSECUTE

       Acting through counsel, Plaintiff filed this action on June 10, 2021.

       On August 3, 2021, this Court issued an order requiring Plaintiff to show cause, in

writing, why this case should not be dismissed for failure to prosecute. Thereafter, Plaintiff

requested and obtained a Clerk’s Entry of Default.

       The docket reflects that Plaintiff has since filed an “Affidavit in Support of Motion for

Default” (ECF No. 12 at PageId.34). But Plaintiff has not filed a motion seeking entry of a

default judgment.

       Accordingly, the Court ORDERS Plaintiff to SHOW CAUSE, in writing, no later

than November10, 2021, why this action should not be dismissed without prejudice for

failure to prosecute.

       IT IS SO ORDERED.
                                              s/Sean F. Cox
                                              Sean F. Cox
                                              United States District Judge

Dated: October 27, 2021




                                                 1
